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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


JAVIER TORRES,

               Plaintiff,
                                                                  Civ. No. 15-1637
       v.
                                                                      ORDER
INVESTORS BANK F/K/A INVESTORS
SAVINGS BANK,

               Defendant.


       THIS MATTER having come before the Court by way of Defendant Investors Bank’s

Motion to Dismiss, Dkt. No. 6;

       and it appearing that the motion to dismiss advances two arguments for dismissal: (1)

statute of limitations bars the case; and (2) transfer of only the mortgage, not the note, does not

initiate a mandatory reporting event under 15 U.S.C. § 1641(g);

       and it appearing that because the Complaint alleges that the relevant transfer occurred on

November 20, 2014, and the Complaint was filed within one year therein, the statute of

limitations does not bar this action;

       and it appearing that the Complaint alleges that both the mortgage and note were

transferred on November 20, 2014, see Compl. ¶ 15, so Defendant’s argument that mere transfer

of the mortgage without the note does not create a mandatory reporting event is inapplicable;

       and for good cause shown;

       IT IS on this 30th day of November, 2015;

       ORDERED that Defendant’s Motion to Dismiss is hereby DENIED.

                                                                   /s/ Madeline Cox Arleo
                                                                   Madeline Cox Arleo
                                                                   United States District Judge
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